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14
15                         UNITED STATES DISTRICT COURT
16                      SOUTHERN DISTRICT OF CALIFORNIA
17
                                            Case No. 18-CR-4683-GPC
18   UNITED STATES OF AMERICA,
19           Plaintiff,                     GOVERNMENT’S RESPONSE IN
                                            OPPOSITION TO DEFENDANTS’
20               v.                         MOTION TO DISMISS FOR
21                                          OUTRAGEOUS GOVERNMENT
     JACOB BYCHAK et. al.,                  CONDUCT
22           Defendants.
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24
                                              I.
25
                                        Introduction
26
           The defense motion to dismiss for outrageous government conduct fails for two
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     overarching reasons: 1) the government did not review privileged communications or
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     otherwise invade the work-product privilege; and 2) the alleged misconduct involving
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 1 Spamhaus’s website were actions by a private person, the Spamhaus Source (SS), who
 2 was not acting at the direction of the government, and no prejudice occurred as a result.
 3        The defendants’ allegations regarding violations of attorney-client privilege rest
 4 upon three assumptions. First, that the inclusion of LG, an outside counsel for both
 5 Company A and Company B, on any email with Company A or Company B employees
 6 automatically establishes that email as privileged. Second, that, by extension, any email
 7 between LG and a non-lawyer spam consultant, AB, is also automatically privileged.
 8 Third, that the government deliberately ignored the existence of this privilege before
 9 reviewing and producing these emails in discovery. These assumptions are factually and
10 legally unsupported.
11        The two emails identified by the defense as “facially” privileged involve an
12 attorney, LG, with whom no defendant has a personal attorney-client relationship, and so
13 provide no basis for the assertion of a violation of the defendant’s right to counsel.
14 Moreover, those two emails were not privileged communications. Rather, as District
15 Judge Barry Ted Moskowitz ruled in a written order of February 6, 2019, issued pursuant
16 to the government’s grand jury investigation, the communications involving LG and the
17 consultant AB related to business activities, rather than legal issues, and were therefore
18 neither privileged nor work product. Judge Moskowitz’s finding that LG was acting in a
19 business, rather than a legal capacity, defeats any alleged “facial” privilege for emails
20 involving either her or her consultant, AB, and the litigation culminating in Judge
21 Moskowitz’s Order shows that the government acted properly. Similarly, the prosecution
22 team did not review the unsolicited LG emails that SS provided to the FBI until after a
23 filter review had determined the communications were not privileged. Defendants’ claims
24 that the government’s actions were improper are therefore unfounded.
25        The defenses’ assertions regarding SS’s alleged misconduct are also infirm. While
26 SS did provide the government with unsolicited logs of AB’s queries of the Spamhaus
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 1 publicly available website prior to indictment, neither those queries nor any of the work
 2 undertaken by AB were privileged. Rather, Judge Moskowitz found that AB’s work with
 3 and for LG was business related, and not covered by attorney client privilege or work
 4 product. Again unsolicited, SS sent one email to the government in September of 2021,
 5 containing two individual two-word search terms attributed to two defense counsel’s firms
 6 used to query the Spamhaus website, and was advised by the government not to provide
 7 that sort of information in the future. The government also immediately produced SS’s
 8 email to the defense, along with SS’s other unsolicited emails. To the extent that search
 9 terms may be covered by work-product privilege, the privilege was waived by disclosure
10 to an adverse third party (Spamhaus), which resulted in disclosure to another adverse party
11 (the United States). Moreover, no defense strategy can be gleaned from the fact that one
12 counsel’s firm queried the Spamhaus website using the name of its client and the other
13 counsel’s firm queried the Spamhaus website for the name of the company that employed
14 the individual who supplied the netblocks, so the defense can show neither prejudice nor
15 gross misconduct.
16                                              II.
17                                       Relevant Facts 1
18          On November 14, 2017, a federal grand jury subpoena was issued to an internet
19 marketing consulting firm operated by AB for records it possessed relating to services it
20 performed for various entities, including Company A and Company B. The firm was
21 retained through outside counsel, LG, to assist with the deliverability of emails and
22 avoidance of blocking by anti-spam organizations. In response to the subpoena, on
23 February 2, 2018, the consulting firm provided a small number of documents. When the
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25
    The facts in this section are set forth in more detail in the Declaration of Assistant U.S.
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26 Attorney Melanie K. Pierson, filed under seal, in connection with this responsive pleading.
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     government expressed its belief that compliance with the subpoena was incomplete, AB
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 2 indicated that he had withheld (and transferred to LG at her direction) numerous
 3 documents that were responsive to the subpoena. AB provided a letter from LG, stating
 4 that her clients (Company A and Company B) were asserting attorney-client and work
 5 product privileges. By letter of February 13, 2018, the government advised the consulting
 6 firm that a privilege log was required, and that legal action to compel compliance with the
 7 subpoena might be taken.
 8         On February 15, 2018, the government was contacted by outside counsel

 9 representing AB. On February 21, 2018, AB’s counsel stated that he had reviewed the
10 withheld documents and did not find them to be privileged. On February 23, 2018, AB’s
11 counsel provided the government with a disc containing approximately 600 additional
12 records, in compliance with the subpoena. After receipt of the disc, the case agents began
13 reviewing the documents. When the agents noticed that the production included emails
14 with LG, the agents stopped their review, and consulted with the U.S. Attorney’s Office.
15 An interview with AB was requested to explore the relationship between the consulting
16 firm, outside counsel, and the clients, so that the government could be assured again that
17 the documents were not privileged before the review of the records continued.
18       On April 12, 2018, the interview occurred, and AB stated that although he

19 contracted with LG to provide the consulting services, he performed no services for LG.
20 Instead, he provided advice to LG’s clients, transmitted through LG, about how to ensure
21 the deliverability of their commercial email and how to avoid having it blocked as spam.
22 AB stated that he was not an employee or agent of either client, had never communicated
23 with anyone or acted on behalf of either client company, and was never informed of any
24 pending or anticipated litigation involving either client company.
25         Thereafter, on April 25, 2018, the government filed a motion with Judge
26 Moskowitz, seeking to have the court determine the issue of privilege related to the
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     documents produced by AB’s consulting firm pursuant to the subpoena. On June 1, 2018,
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 2 the court declined to rule on the motion, finding no case or controversy existed, and noted
 3 that courts were not permitted to provide advisory opinions.
 4              On June 15, 2018, counsel for Company A and Company B filed a motion with

 5 Judge Moskowitz seeking a protective order preventing the government from reviewing
 6 the documents subpoenaed from AB’s consulting firm, based on claims of attorney-client
 7 and work product privilege. The government filed a responsive pleading on August 9,
 8 2018, to which replies were filed on September 19, 2018and the court heard argument on
 9 November 7, 2018.
10      On February 6, 2019, Judge Moskowitz issued a written order 2 (the “BTM Order”).

11 Judge Moskowitz denied Company A and Company B’s motion for a protective order,
12 finding that the documents were not protected either by attorney-client privilege or by the
13 work-product doctrine, because they were prepared for a business rather than a legal
14 purpose, and not in anticipation of litigation. After receiving the Court’s findings that no
15 privileges existed, the government reviewed the records.
16        On October 12, 2017, FBI Special Agent Chabalko contacted the U.S. Attorney’s

17 Office and advised that he had received an email from a Spamhaus source (SS) with an
18 attached zip file, which SS represented might contain emails with an attorney. Although
19 the emails had been provided to SS by a third party, which generally operates as a waiver
20 of any privilege, no further review of the emails was conducted, pending a review by a
21 filter team or the development of additional facts regarding the origin of the emails. No
22 effort was made to have a filter team review the emails or to develop facts regarding the
23 origin of the emails at that time, because there was no reason to believe that such effort
24 would produce evidence relevant to the prosecution of the four defendants.
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26   2
         This Order is attached to the Declaration of Assistant U.S. Attorney Melanie K. Pierson, and filed under seal.
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              As part of the government’s efforts to meet its discovery obligations, the U.S.
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 2 Attorney’s Office directed Special Agent Chabalko to provide the prosecutors with “all”
 3 emails between himself and SS. In response, Agent Chabalko electronically provided
 4 hundreds of pages of records. As the prosecutors were reviewing the email information
 5 provided to the FBI by SS, to process the same for production in discovery, a zip file was
 6 found which contained an email from outside counsel for Company A (LG). Review of
 7 the remaining materials was commenced by a filter team. The materials released by the
 8 filter team were disclosed to the defense in the discovery productions, and included the
 9 emails at issue in this motion involving LG. One of the email threads alleged to be
10 privileged was also produced to the government via subpoena by both AB’s consulting
11 firm and Company B.
12            On September 21, 2021, Special Agent Chabalko forwarded to the U.S Attorney’s

13 Office an approximately 11-page email he received unsolicited from SS earlier in the day,
14 in which SS responded to the public filings that the defense submitted. In the email, SS
15 noted various search terms used by AB to query the Spamhaus website, which, in the
16 opinion of SS, were related to this case. This email was immediately produced as
17 discovery. That same day, the prosecution consulted an ethics advisor.
18       On Sunday, September 26, 2021, Special Agent Chabalko forwarded another

19 unsolicited email he had received from SS, which set forth two queries of the Spamhaus
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20 website attributed to the IP addresses of two law firms representing two of the defendants
21 in this case. One query was for the name of the law firm’s client, a named defendant in
22 this case. The other query was for the name of the company that employed Daniel Dye,
23 who is one of the defendants’ co-conspirators. SS’s email also was immediately produced
24 as discovery, and thereafter, the prosecutors again consulted an ethics advisor.
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      Neither the queries by AB nor the queries by the defense firms will be a part of the government’s evidence in its case in
     chief.
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           Nothing in the discussions with the ethics advisor in September and October of 2021
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 2 led prosecutors to believe that any government misconduct had occurred. In spite of the
 3 lack of evidence of any misconduct, on October 18, 2021, the government contacted SS
 4 and requested that SS not send further information about any defense counsel’s queries of
 5 Spamhaus’s website to avoid even the appearance of impropriety.
 6                                              III.
 7                           Memorandum of Points & Authorities
 8     A. Relevant Legal Standard
 9         The dismissal of an indictment because of outrageous government conduct may be
10 predicated on alternative grounds: a violation of due process or the court's supervisory
11 powers.” United States v. Restrepo, 930 F.2d 705, 712 (9th Cir. 1991). To support
12 dismissal on due process grounds, a defendant must show government conduct that “is so
13 grossly shocking and so outrageous as to violate the universal sense of justice.” Id. (citing
14 United States v. O'Connor, 737 F.2d 814, 817 (9th Cir. 1984)). That is, “the government's
15 conduct” must be “so excessive, flagrant, scandalous, intolerable, and offensive as to
16 violate due process.” United States v. Edmonds, 103 F.3d 822, 825 (9th Cir. 1996) (citing
17 United States v. Garza-Juarez, 992 F.2d 896, 904 (9th Cir.1993)). With respect to a Fifth
18 Amendment due process violation stemming from intrusion into the attorney-client
19 relationship, to constitute outrageous government conduct a defendant must demonstrate:
20 (1) the government was objectively aware of an on-going, personal attorney client
21 relationship, (2) the government deliberately intruded into that relationship, and (3) as a
22 result, the defendant suffered actual and substantial prejudice. United States v. Stringer,
23 535 F. 3d 929, 941 (9th Cir. 2008).
24         “Dismissal of an indictment with prejudice” under the court's supervisory power
25 “necessarily implicates separation-of-powers principles” and represents the “most severe
26 sanction possible.” United States v. Isgro, 974 F.2d 1091, 1097 (9th Cir. 1992).
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 1 Accordingly, dismissal of an indictment on these grounds is a “drastic” and “disfavored”
 2 remedy, and is “impermissible absent ‘a clear basis in fact and law for doing so.”’ Id.;
 3 United States v. Ross, 372 F.3d 1097, 1110 (9th Cir. 2004). To justify an exercise of the
 4 court's supervisory powers in this context, a defendant must show outrageous government
 5 misconduct that is both “flagrant” and causes him “substantial prejudice.” See Ross, 372
 6 F.3d at 1110; United States v. Jacobs, 855 F.2d 652, 655 (9th Cir. 1988).
 7        For the reasons discussed below, the defense has not come close to making any of
 8 these showings.
 9     B. Defendants Have Failed to Establish Conduct by a Government Agent
10        Regardless of the basis for dismissal, the defense must first establish conduct by
11 someone acting as an agent of the government. Where the activities alleged to be
12 outrageous government conduct involve conduct by an informant, the first step in the
13 inquiry is to determine whether the informant was an agent of the government at the time
14 of the alleged outrageous actions. United States v. Restrepo, 930 F.2d 705, 712 (9th Cir.
15 1991). There is nothing improper about the disclosure of defense trial strategy to the
16 government by a person who “was not working on behalf of the government.” United
17 States v. Danielson, 325 F.3d 1054, 1068 (9th Cir. 2003).
18        The Ninth Circuit has held that “a person does not become a government agent until
19 his activities are under the direction and supervision of law enforcement officers.”
20 Restrepo, 930 F.2d at 713 (citing United States v. Busby, 780 F. 2d 804 (9th Cir. 1986)).
21 In United States v. Simpson, 813 F. 2d 1462, 1467-1468 (9th Cir. 1987), the court held
22 that dismissal of the indictment was unwarranted, noting that “passive tolerance of private
23 informant’s questionable conduct [is] less egregious than the conscious direction of
24 government agents typically present in outrageous conduct challenges.” See also United
25 States v. Ryan, 548 F. 2d 782, 791 (9th Cir. 1976) (private person was not acting as an
26 agent for the government when there was no evidence that informant consulted with the
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 1 government prior to approaching the defendant). “Due process is not violated unless the
 2 conduct is attributable to and directed by the government.” United States v. Barrera
 3 Moreno, 951 F. 2d 1089, 1092 (9th Cir. 1991).
 4          Unlike this case, in the cases cited by the defense there was no dispute regarding
 5 whether the informant was acting at the behest of the government when the Constitutional
 6 violations occurred. To determine whether a third party is acting on behalf of the
 7 government for purposes of evaluating whether a Constitutional violation has occurred,4
 8 the Ninth Circuit has set forth a two-part test: (1) whether the government knew of and
 9 acquiesced in the intrusive conduct; and (2) whether the party performing the action
10 intended to assist law enforcement efforts or further his own ends. United States v. Reed,
11 15 F.3d 928, 931 (9th Cir. 1994). In looking at step two, if a private party has dual motives,
12 that is a “legitimate, independent motivation to further its own ends” and a desire to assist
13 law enforcement, the Ninth Circuit requires the Court to determine whether “the
14 government’s participation” was “so extensive” as to rise to the level of a Constitutional
15 violation. United States v. Cleaveland, 38 F.3d 1092, 1094 (9th Cir. 1994).
16          Regarding the first prong of the test, whether the government knew of and
17 acquiesced in the intrusive conduct, there is no evidence that the government affirmatively
18 directed SS to: 1) obtain emails from CY, let alone emails involving LG, 2) provide emails
19 from CY’s email account involving LG to the government, or 3) search Spamhaus’s own
20 computer logs for queries of the Spamhaus website attributed to the defense. Moreover,
21 when SS provided these unsolicited materials, the government did not acquiesce to the
22 receipt of privileged information. Rather, the government sought and obtained a court
23
     No precedent could be found describing a test for when a third party would be considered
     4
24 a government agent for purposes of evaluating a violation of the Sixth Amendment right
25 to counsel or the Fifth Amendment right to due process. The test for evaluating when a
   private person is considered a government agent for purposes of analysis of a Fourth
26 Amendment violation is most analogous.
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 1 order that determined that LG’s communications with AB were non-privileged business-
 2 related communications before reviewing them (see Section C.2., below), and employed
 3 a filter team for the LG emails provided by SS. Finally, any potential privilege involving
 4 the defense queries of Spamhaus’s records was waived by disclosure of the query to
 5 Spamhaus, which was and remains an adverse third party as evidenced by the defendants’
 6 work emails and court filings attacking Spamhaus. (See Section C.3., below). The defense
 7 has therefore not met the first prong of Reed.
 8          Turning to Reed’s second prong, whether the party performing the action intended
 9 to assist law enforcement efforts or further his own ends, SS and Spamhaus5 collected the
10 information with the intent to further their own ends, that is, to prevent the sending of
11 “spam,” which Spamhaus defines as “unsolicited bulk email.” The Spamhaus goal of
                                                      6       7


12 eliminating all unsolicited commercial email goes well beyond what is criminally
13 prohibited under the CAN-SPAM Act, which is fraud and false statements in connection
14 with multiple commercial email messages. In fact, when the CAN-SPAM Act was passed
15 in 2003, Spamhaus, created in 1998, described the Act’s “attempts to regulate rather than
16 ban” spam to be a “serious mistake” that will result in “increasing spam volumes and the
17 numbers of spammers .”
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           Spamhaus itself does not block any emails. The commercial emails do not touch
     Spamhaus’ network, and are not intercepted or re-routed by Spamhaus. Instead, internet
20   service providers voluntarily employ filters which use algorithms relying in part on
21   information on whether particular IP addresses have been listed on the Spamhaus block
     lists for having sent what Spamhaus deemed to be spam. The filters, at the option of the
22   service provider, may elect to accept, reject, or flag the email for further filtering.
23   www.spamhaus.org/Section/Legal20%Questions/#107.
     6
       Spamhaus defines “bulk” as meaning “the message is sent as part of a larger collection
24   of messages with identical content.”
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     7
       www.spamhaus.org/faq/Section/Glossary/#181.
     8
       www.spamhaus.org/organization/statement/005/spamhaus-position-on-can-spam-act-
26   of-2003
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 1         That Spamhaus and SS obtained information on consultant AB and attorney LG is
 2 consistent with their independent motive to further their own ends. According to the
 3 defense’s exhibits, SS described AB as a “former Spamhaus volunteer,” claiming “to help
 4 spammers get Spamhaus SBL listings resolved for payment,” who “still claims to be a
 5 ‘Spamhouse Insider’” even though he was “fired in 2008.” SS said that AB “sold his
 6 clients personal information about Spamhaus employees and volunteers, which they have
 7 used as a form of blackmail by implied threats.” LG was described by SS as someone who
 8 “works with ‘Spamhaus informant’ [AB]” and helps “clients clean up any problems with
 9 Spamhaus when caught spamming.” Decl. of Gary Lincenberg, Exs, p. 28-29. Regardless
10 of the truth of these statements, they provide evidence of a powerful motive, independent
11 of any intent to assist the government, for SS and Spamhaus to obtain information
12 regarding AB and LG. In the face of such strong evidence of independent motives of
13 Spamhaus and SS to obtain the information complained of, and the lack of any affirmative
14 direction by the government to do so, it cannot be said that the government’s participation
15 was “so extensive” as to rise to the level of a Constitutional violation.
16     C. The Materials Obtained are Not Protected by Privilege.
17         The party asserting attorney-client privilege has the burden of proof to establish all
18 eight elements of the privilege, that is: (1) legal advice of any kind was sought (2) from a
19 professional legal adviser in his or her capacity as such, (3) the communications related to
20 that purpose, (4) the communications were made in confidence (5) the communications
21 were made by the client, (6) the communications were to be permanently protected, at the
22 client’s insistence (7) from disclosure by the client or by the legal adviser, and (8) the
23 protection has not been waived. United States v. Martin, 278 F. 3d 988 (9th Cir. 2002).
24 The fact that a person is a lawyer does not automatically make communications with them
25 privileged. United States v. Chen, 99 F. 3d 1495, 1501 (9th Cir. 1996). The defendants in
26 this case, at a minimum, are unable to establish elements 1, 2, and 8.
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 1         1. The Defendants Have No Protected Attorney-Client Relationship with LG
 2         In Martin, the Ninth Circuit found no attorney-client privilege was breached, in part
 3 because the defendant had failed to establish the existence of a personal attorney-client
 4 relationship. The attorney at issue was the general counsel for a corporation, and, as the
 5 court noted, the corporation’s privilege does not automatically extend to employees or
 6 officers. See also United States v. Plache, 913 F. 2d 1375, 1380-1382 (9th Cir. 1990)
 7 (attorney-client privilege with lawyer and accountant hired by lawyer cannot be asserted
 8 by officer who hired them because the privilege is held by the corporation).
 9         In United States v. Graf, 610 F.3d 1148, 1161 (9th Cir. 2010), the Ninth Circuit
10 adopted a five-part test to determine if a corporate employee holds a joint privilege over
11 communications with corporate counsel. The elements, which must be established by the
12 defendant, are: (1) he approached the attorneys for the purpose of seeking legal advice;
13 (2) when he did so, he made it clear to the attorneys that he was seeking legal advice in
14 his individual rather than in his representative capacity; (3) the attorneys saw fit to
15 represent him personally, knowing a conflict could arise; (4) his conversations with the
16 attorneys were in confidence; and (5) the substance of his conversations with the attorneys
17 did not concern matters within the corporation or the general affairs of the corporation.
18         In this case, the defense acknowledges that the privilege holders with respect to
19 communications with LG are the corporate entities, Company A and Company B. [ECF
20 No. 329-1, p. 9, fn. 7]. Accordingly, because there was no personal attorney-client
21 relationship between LG and the defendants, and no evidence that any of the individual
22 defendants approached LG to represent them in their individual capacity (or any of the
23 Graf factors, for that matter), they cannot claim a violation of their own Constitutional
24 rights for any intrusion into the attorney-client relationship with LG. Because their claim
25 of attorney-client privilege with LG fails, so must their claim of work product protection
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 1 for any work done on behalf of LG by consultant AB, since any insight into the thought
 2 processes of LG did not expose any legal strategy to which they were a party.
 3         2. The Communications with LG and AB were for a Business, Not Legal, Purpose
 4         “In order to show that a communication relates to legal advice, the proponent of the
 5 privilege must demonstrate that the ‘primary purpose’ of the communication was securing
 6 legal advice.” Chevron Corp., 1996 WL 264769, cited within United States v.
 7 ChevronTexaco Corporation, 241 F. Supp 2d 1065, 1076 (N.D. Cal, 2002) (emphasis in
 8 original). For documents that might serve both a business and litigation purpose,
 9 documents that reflect reasoning about strategies or analysis for litigation are viewed as
10 protected legal communications, while documents that discuss only the logistics or
11 mechanics of implementing the strategy are considered to be unprotected business records.
12 Id. at 1085. Here, the two emails from LG identified by the defense as “facially privileged”
13 serve primarily a business purpose, as they are, at most, a discussion of how to implement
14 the strategy of avoiding adverse economic consequences from a listing on the Spamhaus
15 block list.
16         For materials prepared by agents or investigators on behalf of attorneys to qualify
17 for protection under the work product doctrine, they must be prepared: (1) in anticipation
18 of litigation, and (2) by or for another party, or that party’s representative. In re Grand
19 Jury Subpoena (Mark Torf/Torf Environmental Management), 375 F. 3d 900, 907 (9th
20 Cir. 2004). In this case, Judge Moskowitz ruled in February 2019 that LG’s
21 communications with AB served a business purpose and, accordingly, neither LG’s nor
22 AB’s communications with each other were protected by attorney-client privilege or work-
23 product.
24         Judge Moskowitz found no attorney-client privilege based on his determination that
25 the communications at issue “involve gathering information about Spamhaus, rather than
26 interpreting information from [Company A] or [Company B] to assist [LG] in providing
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 1 legal advice.” [BTM Order, p. 11]. Judge Moskowitz determined that the terms of the
 2 contract between LG and AB, along with the representations of the parties “demonstrate
 3 the primary purpose of the [ ] communications was to provide business advice,” which
 4 were not covered by attorney-client privilege. [BTM Order, p. 12]. Judge Moskowitz
 5 found that the parties’ communications were “primarily concerned with gathering
 6 information about a non-profit’s [Spamhaus] blacklist to preserve their business model
 7 and reputation, not to defend against or pursue litigation.” Judge Moskowitz further noted
 8 that the work performed by AB for LG did not involve AB interpreting information from
 9 the clients for LG, as required for attorney-client privilege to provide protection for third
10 party consultants, citing, among others, the opinion of this court in Cohen v. Trump, 2015
11 WL 3617124 *17 (S.D. Cal. June 9, 2015).
12         Judge Moskowitz also found the work product privilege to be inapplicable to the
13 documents involving LG and AB because the material was not prepared in anticipation of
14 litigation. Judge Moskowitz noted that Company A emphasized that Spamhaus did not
15 submit to the jurisdiction of the United States and does not litigate in the United States,
16 making the possibility of any litigation with Spamhaus remote. Moreover, he found that
17 the duties for which LG had been hired (to devise strategies to circumvent Spamhaus’
18 blacklist, gather industry intelligence and mitigate reputational harm, among others) were
19 just as well done by non-lawyers. [BTM Order, p. 15]. He therefore concluded that the
20 work product doctrine was also inapplicable.
21       The two emails involving LG that the defendants’ claim to be “facially privileged”
22 are the same type of LG emails that Judge Moskowitz found to be related to business,
23 rather than legal, advice and therefore not covered by attorney-client privilege. In fact, a
24 version of the email thread identified as defense Exhibit 13A was provided to the
25 government pursuant to subpoena by both Company B and AB’s firm. This overlap
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 1 demonstrates that both the Company B and Judge Moskowitz recognized the email was
 2 not privileged.
 3        The two LG emails cited by the defense convey LG’s thoughts on how to respond
 4 to a Spamhaus block listing and echo the responses drafted by AB for Company B. In prior
 5 communications between AB and LG, which Judge Moskowitz found not to be privileged,
 6 AB recommended a strategy that involved providing false information to Spamhaus, as he
 7 stated in one email “the difference is intentional, because the intent is to obfuscate rather
 8 than clarify,” and in another asked if someone will “cooperate in a subterfuge to dispense
 9 with the Spamhaus issue” that would require the cooperator “to send correspondence
10 which is, let’s say, imaginative in the extreme.” (See Exhibits 2 and 3, filed under seal,
11 with the Declaration of Assistant U.S. Attorney Melanie Pierson.)
12        The LG emails cited by defense are also not protected by the work-product privilege
13 for the reasons cited by Judge Moskowitz. They involve strategies to avoid the Spamhaus
14 block list and to avoid reputational damage with business partners. They include no
15 suggestion of potential litigation, and could have been performed by non-lawyers. As such,
16 as found by Judge Moskowitz, they are business communications that are not protected by
17 the work-product privilege.
18        While Judge Moskowitz declined to reach the crime-fraud issue because he found
19 the documents were not privileged, these types of communications implicate the crime-
20 fraud exception to the attorney-client privilege. Under the crime-fraud exception,
21 communications are not privileged where (1) the client was engaged in or planning to
22 engage in a criminal or fraudulent scheme when it sought the advice of counsel to further
23 the scheme, and (2) the communications are sufficiently related to and in furtherance of
24 the intended or present continuing illegality. In Re Grand Jury Investigation, 810 F. 3d
25 1110, 1113 (9th Cir. 2016). In the emails for which the defense claims privilege, it is
26 suggested that false information be provided to the anti-spam organization, in order to
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 1 allow the client to continue doing business. These emails could also be viewed as in
 2 furtherance of the scheme charged in this case, which involved disguising the identity of
 3 the entity in control of the IP addresses by impersonating the true registrants, supporting
 4 a crime-fraud exception.
 5         3. SS’s Unsolicited Emails Did Not Violate Work Product Privilege.
 6            a. The Defense Has Not Demonstrated Any Documents Qualify as Work
 7               Product
 8         The work product doctrine was designed to protect attorney’s mental impressions
 9 and legal theories. Upjohn v. United States, 449 U.S. 383 (1981). The defense argues that
10 the search terms used by the defense to query the publicly available Spamhaus website are
11 work product, citing United States v. Segal, 2004 WL 830428 *8 (N.D. Ill. 2004). Segal
12 is easily distinguishable because the search terms found to be work product in Segal
13 involved an attorney’s legal research of the Lexis/Nexis legal database, and the legal
14 opinions generated by the research. Such records would clearly provide a window into
15 counsel’s mental processes and legal theories. In contrast, knowledge of a defense query
16 of the Spamhaus database, in one case, for the name of a named defendant and, in another,
17 for the name of the company that putatively sold the netblocks, provides no window into
18 counsel’s mental processes or legal strategy, nor does it provide the government with any
19 tactical advantage.
20         The defense also claims work-product privilege based on the metadata associated
21 with the queries, citing United States v. Wirth, 2012 WL 1110540 *4 (D. Minn. 2012),
22 which is also factually distinguishable. In Wirth, the records at issue were drafts of
23 summaries of interview reports, where the metadata would reveal the drafter’s “decisions
24 and steps,” and “might include creation and editing dates, author and user names,
25 comments, and historical data identifying specific document modifications.” Id. In this
26 case, the metadata the defense seeks to protect is the date of the query, the duration of the
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 1 connection to Spamhaus’s own website and database, the IP address used to connect to
 2 Spamhaus’s website and database, and the account holder for that IP address. Such
 3 information again provides no insight to counsel’s mental processes or legal strategies.
 4 Accordingly, the defense search terms and metadata in this case should not be afforded
 5 work product protection.
 6            b. Any Potential Work Product Privilege Was Waived.
 7         Any work product privilege that might exist is waived when disclosed to a third
 8 party as that would enable an adversary to gain access to the information. Westinghouse
 9 Electric v. Republic of the Philippines, 951 F. 2d 1424, 1428 (3rd Cir. 1991). Disclosure
10 to a third party waives the work product privilege if the disclosure substantially increases
11 the possibility of the opposing party obtaining the information. United States v. ATT, 642
12 F. 2d 1285 (D.C. Cir. 1980). Once a party has disclosed work product to an adversary, it
13 has waived work product protection as to all other adversaries. McMorgan v. First
14 California Mortgage, 931 F. Supp 703, 709 (N.D. Cal. 1996) (citing Westinghouse, 951
15 F. 2d at 1429). See also, Nidec v. Victdor Co. of Japan, 249 F.R.D. 575, 578 (N.D. Cal.
16 2007) (work product privilege waived by disclosure to third parties which results in
17 disclosure to adverse party).
18         In United States v. Sanmina Corporation, 968 F. 3d 1107, 1121 (9th Cir. 2020), the
19 Ninth Circuit held that disclosure of work product to a third party waives the protection of
20 the privilege when disclosure is made to “an adversary in litigation” or “has substantially
21 increased the opportunities for potential adversaries to obtain the information.” Disclosing
22 work product to a third party may waive the protection where “such disclosure, under the
23 circumstances, is inconsistent with the maintenance of secrecy from the disclosing party's
24 adversary.” Rockwell Int'l Corp. v. U.S. Dep't of Justice, 235 F.3d 598, 605 (D.C. Cir.
25 2001). “The voluntary disclosure of attorney work product to an adversary or a conduit to
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 1 an adversary waives work-product protection for that material.” United States v. Deloite,
 2 610 F. 3d 129, 140 (D.C. Cir. 2010).
 3        Assuming arguendo, that the search terms used by AB and individuals from the
 4 defense firms for Manoogian and Pacas constitute attorney work product, that privilege
 5 was waived upon the disclosure of the search terms to Spamhaus, an adversary. Company
 6 A, Company B, AB, and the individual defendants have consistently portrayed and treated
 7 Spamhaus as an adverse party. For example, Companies A and B hired LG and AB to
 8 avoid having their IP addresses associated with the Spamhaus block list, and any resulting
 9 harm to their reputation and client relationships. In the litigation regarding the consultant
10 records, Company A claimed that Spamhaus “has continuously interfered with its
11 business” by listing affiliates, domains and IP addresses on its block lists, and Company
12 B noted that appearing on the Spamhaus ROKSO list “significantly impacted [its] ability
13 to operate as a business.” [BTM order, p. 3]. During this litigation, defense counsel has
14 described Spamhaus as a “vigilante organization,” on a mission to harm their clients. [ECF
15 71, p. 16]. Indeed, Spamhaus views itself as adverse to anyone such as the defendants who
16 send unsolicited bulk email, even if such conduct might be legal under the CAN-SPAM
17 Act.
18        Both AB and defense counsel chose to expose their IP addresses and session time
19 when they visited Spamhaus’s website and took no steps to mask or otherwise anonymize
20 the Internet connection they initiated to call up the website. Similarly, they took no
21 measures to anonymize their actions when they voluntarily queried the records on the
22 Spamhaus public database. They took such action in spite of the unambiguous privacy
23 policy of Spamhaus, posted on its website, which advises users that Spamhaus collects
24 visitor information that includes visitors’ names, technical data, and request information.
25 The defendants were also aware that Spamhaus was providing information to the
26 government in this case. Because they chose to disclose their alleged work product (i.e.
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 1 search terms and associated metadata) to an adverse party, the defendants can no longer
 2 claim work product protection, as whatever privilege may have existed has been waived.
 3      D. No Sixth Amendment Violation Occurred
 4         “The Ninth Circuit adheres to the bright line rule that the Sixth Amendment right to
 5 counsel attaches only upon the initiation of the filing of formal criminal charges.” United
 6 States v. Hayes, 231 F. 3d 663, 675 (9th Cir. 2000), cited within United States v. SDI
 7 Future Health, Inc., 464 F. Supp 2d 1027, 1047 (D. Nev. 2006). A violation of the Sixth
 8 Amendment right to counsel does not require dismissal of the indictment if less drastic
 9 means are available to ensure the defendant gets a fair trial. United States v. Rogers, 751
10 F. 2d 1074, 1078-1079 (9th Cir. 1985). Mere government intrusion into the attorney-client
11 relationship is not of itself violative of the Sixth Amendment right to counsel. Rather, the
12 right is only violated when the intrusion substantially prejudices the defendant. United
13 States v. Irwin, 612 F. 2d 1182, 1187 (9th Cir. 1980). The Ninth Circuit described
14 substantial prejudice as instances where privileged information is introduced at trial, the
15 prosecution obtains the defense plans and strategies, or the government’s intrusion
16 destroys the defendant’s confidence in his attorney., or other actions which gave the
17 government an advantage at trial. Id.
18         To establish a Sixth Amendment violation based on intrusion into the attorney-client
19 relationship, a defendant must show, “at a minimum, that the government intrusion was
20 purposeful, that there was communication of defense strategy to the prosecution, or that
21 the intrusion resulted in tainted evidence.” United States v. Fernandez, 388 F. 3d 1199,
22 1240 (9th Cir. 2004). Where the intrusion results in the prosecution obtaining a particular
23 piece of evidence (for example, an inculpatory statement, a document, or a dead body),
24 the burden is on the defendant to show prejudice, but where the intrusion results in the
25 prosecution obtaining the defendant’s trial strategy, the analysis differs. If trial strategy is
26 obtained, the defendant must make a prima facie showing that the government acted
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 1 affirmatively to intrude into the attorney client relationship and thereby to obtain the
 2 privileged information, after which the burden shifts to the government to show there was
 3 no prejudice to the defendant. Danielson, 325 F. 3d at 1070-1071.
 4         The only action cited by the defendants in support of this motion that occurred post-
 5 indictment (when the Sixth Amendment right to counsel attached) was SS’s unsolicited
 6 September 2021 email stating that an individual from one defense attorney’s firm queried
 7 the Spamhaus public website for its client’s name and another queried Spamhaus’s website
 8 regarding the company that employed a cooperating defendant, Daniel Dye. The alleged
 9 intrusion was not, by defendants’ own admission, conducted by the government, but by a
10 third party, SS. There is also zero evidence that SS was acting at the direction of the
11 government when SS gathered and shared the information SS obtained from Spamhaus’s
12 own records.
13         In this case, the queries shared by SS (or relating to AB in the past) were not
14 protected by any privilege, as any work product privilege that might otherwise exist had
15 been waived by disclosure of the search terms to an adverse party (Spamhaus). As such,
16 there was no intrusion into the attorney client relationship at all, and there can be no
17 cognizable violation of the defendants’ Sixth Amendment rights.
18         The defense, quoting from loose language in cases where the agency of the
19 informant was not in dispute, misunderstands it burden and argues that the intent of the
20 informant to intentionally intrude into the attorney client relationship to obtain privileged
21 material is dispositive. In actuality, to establish a Sixth Amendment violation, it is the
22 intent of a government agent to obtain privileged material that is paramount. This was
23 made clear by the Ninth Circuit in Restrepo, when it found that when the activities alleged
24 to be outrageous government conduct involve actions by an informant, the first step in the
25 inquiry is to determine whether the informant was an agent of the government at the time
26 of the alleged outrageous actions. Restrepo, 930 F2d. at 712.
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 1         Because there is no evidence that the post-indictment collection by SS of Spamhaus
 2 database queries was at the direction of or solicited by the government, the defense argues
 3 that the government should be held responsible for the actions of SS because it acquiesced
 4 to the receipt of similar information regarding AB’s pre-indictment searches of
 5 Spamhaus’s website and databases. But “passive tolerance of private informant’s
 6 questionable conduct [is] less egregious than the conscious direction of government agents
 7 typically present in outrageous conduct challenges.” Simpson, 813 F. 2d at 1467-1468. Far
 8 from acquiescing to the receipt of privileged information from AB, instead the government
 9 sought and obtained a court order finding the material involving AB was not privileged
10 under either attorney-client or work product privilege.
11         Moreover, the defendants have not alleged substantial prejudice from the alleged
12 intrusion. As a result of SS’s unsolicited emails, the government learned that an individual
13 at one defense counsel’s firm conducted a query involving the name of its client, while
14 another queried the name of Dye’s employer. In previous communications with the
15 government, defense counsel suggested that one defense might involve portraying the
16 defendant’s co-conspirator Dye as the mastermind of the scheme. Accordingly, it is nearly
17 impossible to imagine how knowing of these search terms provided any sort of tactical
18 advantage to the government, or window into a defense strategy not already known to the
19 government, such that the defendants could claim substantial prejudice, as required for the
20 remedy of dismissal of the indictment. Irwin, 612 F. 2d at 1187.
21      The defense, citing Danielson, 325 F. 3d at 1071, attempts to shift the burden to the
22 government to show the absence of prejudice, claiming to have made a prima facie case
23 that the government intentionally reviewed privileged material. Putting aside the fact that
24 none of the material reviewed by the government was actually protected by privilege, the
25 defense ignores the fact that that government, prior to indictment, sought permission of
26 the court to review the LG and AB communications. Moreover, that permission was
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 1 granted by Judge Moskowitz, in spite of claims by the privilege holders that the documents
 2 were protected by both attorney-client and work product privileges. Judge Moskowitz
 3 found that the relationship between LG and AB was business-related, which did not justify
 4 the protection of attorney-client or work product privilege.
 5        The defense further ignores the fact that the prosecution team did not review the
 6 “facially privileged” LG emails that CY sent to SS, who, years later, sent to the FBI, until
 7 a filter team had reviewed and cleared them. While FBI Agent Chabalko did forward the
 8 emails to a prosecutor, he did so at the insistence of the prosecutor that he provide “all”
 9 emails with SS for review, at a time when the defense was demanding discovery relating
10 to SS. When a prosecutor discovered the emails involving LG, a filter team was
11 immediately deployed. No prior review of these emails by a filter team had been conducted
12 because they were not viewed as related to the conspiracy involving the four defendants.
13 These emails resurfaced only when communications with SS were under review to
14 determine if any of them should be disclosed to the defense. Moreover, the prosecution
15 team sought the advice of ethics advisors after receiving the unsolicited email from SS of
16 defense counsel’s Spamhaus search terms in this case. Nothing in the results of the filter
17 team review, the review by Judge Moskowitz, or by the ethics advisors suggested that the
18 prosecution team had improperly reviewed privileged materials. Although there was no
19 violation of the attorney-client or work product privilege involved, the government
20 nonetheless asked SS not to provide such information in the future, to avoid even the
21 appearance of impropriety. As such, the motion to dismiss based on allegations of a
22 violation of the defendants’ Sixth Amendment rights must be denied.
23    E. No Fifth Amendment Violation Occurred.
24        A defendant’s Fifth Amendment right to due process can be asserted based on pre-
25 indictment conduct. To obtain dismissal of the charges for outrageous government conduct
26 based on a violation of the Fifth Amendment right to due process, the government
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 1 misconduct must be “so grossly shocking and so outrageous as to violate the universal
 2 sense of justice.” United States v. Stinson, 647 F.3d 1196, 1209 (9th Cir. 2011) (quoting
 3 Restrepo, 930 F.2d at 712); United States v. Pedrin, 797 F.3d 792, 795–96 (9th Cir. 2015).
 4         With respect to a Fifth Amendment due process violation stemming from intrusion
 5 into the attorney-client relationship, to constitute outrageous government conduct the
 6 Ninth Circuit, in United States v. Stringer, 535 F. 3d 929, 941 (9th Cir. 2008), adopted the
 7 three elements first enunciated by the Third Circuit in United States v. Voigt, 89 F. 3d
 8 1050, 1067 (3rd Cir. 1995): (1) the government was objectively aware of an on-going,
 9 personal attorney client relationship, (2) the government deliberately intruded into that
10 relationship, and (3) as a result, the defendant suffered actual and substantial prejudice.
11         The defendants cannot meet any of the three Voigt/Stringer elements. As set forth
12 above in Section C.1., the defendants had no “on-going personal attorney-client
13 relationship” with LG, the attorney involved in the “facially privileged” emails, a fact
14 which the defense has acknowledged but totally ignored its legal effect. The only on-going
15 personal attorney-client relationships that exist are those between the defendants and their
16 attorneys in this criminal case. There was no deliberate intrusion by the government into
17 privileged information between the defendants and their counsel of record, because any
18 privilege that might have attached was waived upon its disclosure to Spamhaus, an adverse
19 third party. Moreover, the defendants have failed to identify any actual and substantial
20 prejudice suffered by the unsolicited disclosure of the search terms, which were only the
21 name of a defendant and the company that employed their co-conspirator, Daniel Dye.
22 Instead, the defense speculates about potential advantages that occurred in other cases and
23 improperly argue that the burden has shifted to the government to prove the absence of
24 prejudice. Accordingly, the motion to dismiss based on a violation of the defendants’ Fifth
25 Amendment right to due process must fail.
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 1     F. There is No Basis for the Court to Exercise its Supervisory Powers.
 2         The court may also use its inherent supervisory powers to dismiss an indictment for
 3 government conduct that falls short of a Fifth or Sixth Amendment violation. To do so,
 4 the court must find that the government misconduct is both: (1) flagrant, and (2) causes
 5 substantial prejudice to the defendant. United States v. Simpson, 927 F. 2d 1088, 1091 (9th
 6 Cir. 1991); United States v. Chapman, 524 F. 3d 1073, 1087 (9th Cir. 2008). The standard
 7 for dismissal on this ground is “extremely high.” United States v. Smith, 924 F.2d 889,
 8 897 (9th Cir. 1991). Dismissals are “limited to extreme cases in which the government's
 9 conduct violates fundamental fairness.” United States v. Gurolla, 333 F.3d 944, 950 (9th
10 Cir. 2003).
11         Accidental or merely negligent conduct is insufficient to establish flagrant
12 misconduct, but flagrant misconduct can include conduct that evidences a reckless
13 disregard for the prosecution’s constitutional obligations. Chapman at 1085. In Chapman,
14 the court dismissed the indictment after the prosecutor failed to disclose during trial rap
15 sheets and cooperation agreements of witnesses, including witnesses who had testified and
16 been released, and had flagrantly lied to the court, falsely stating that the documents had
17 in fact been provided in discovery. No such conduct occurred in this case.
18        In this case, the government embraced and sought guidance regarding its
19 constitutional obligations. As set forth above, the government employed a filter team to
20 review the emails involving LG prior to their review by the prosecution team. When
21 Companies A and B claimed attorney-client and work-product privilege regarding
22 documents responsive to a grand jury subpoena, the government sought an order of the
23 court, which ultimately found that the documents lacked the protection of privilege, prior
24 to review by the prosecution team. When the defense complained of intrusion into the
25 attorney-client relationship after SS made unsolicited disclosure of the defense search of
26 the Spamhaus website, the prosecution sought the advice of an ethics advisor. Nothing in
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 1 the results of the judicial review, filter team review, or ethics review suggested that the
 2 prosecution team had in any way disregarded its constitutional obligations or abridged the
 3 defendants’ constitutional rights. Accordingly, the government’s conduct was completely
 4 appropriate and the defense accusations of flagrant misconduct are unfounded.
 5        Moreover, in making the argument for dismissal based on flagrant government
 6 misconduct, the defense failed to address the second requirement, a showing by the
 7 defense of “substantial prejudice.” Unlike Chapman, where the defense could clearly point
 8 to an inability to use important impeachment materials at trial, the defendants in this case
 9 have not alleged any specific prejudice suffered as a result of the alleged misconduct. This
10 is because, simply put, the defense has suffered no prejudice from the conduct alleged,
11 much less the level of “substantial prejudice” required for dismissal. Accordingly,
12 dismissal on this basis should also be denied.
13     G. The Remedies Sought by the Defense Are Inappropriate.
14        The Ninth Circuit traditionally has identified two remedies for outrageous
15 government conduct: 1) dismissal of the indictment, which is drastic, disfavored, and thus
16 used only in the most egregious cases; or 2) suppression at trial of evidence improperly
17 obtained. See, e.g., Rogers, 751 F.2d at 1078–79. United States v. Haynes, 216 F. 3d 789,
18 796 (9th Cir. 2000) (quoting United States v. Morrison, 449 U.S. 361, 365 (1981) for the
19 proposition that the “remedy characteristically imposed” when the government obtains
20 evidence in violation of the Fifth or Sixth Amendment “is not to dismiss the indictment
21 but to suppress the evidence or to order a new trial if the evidence has been wrongly
22 admitted”).
23       In this case, there is no evidence to support the extreme remedy of dismissal.
24 Instead, the evidence shows that the government sought advice from the court, a filter
25 team, and an ethics advisor, none of which indicated that any errors had been made by the
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 1 prosecution. Against this backdrop, the conduct of the government cannot be viewed as so
 2 outrageous as to shock the conscience or violate fundamental fairness to justify dismissal.
 3        The defense suggests that the court consider other remedies, including removal of
 4 the lead prosecutor, allowing the defense to depose trial witness that were exposed to
 5 tainted evidence, and requiring the government to provide summaries of the testimony of
 6 its witnesses and an exhibit list, citing United States v. Horn, 29 F. 3d 754, 759 (1st Cir.
 7 Cir. 1994). This case is nothing like Horn. In Horn, the lead prosecutor directed a paralegal
 8 to make a duplicate copy for the government of a small subset of documents that the
 9 defense had requested to be copied out of the 10,000 documents in discovery, without the
10 knowledge of defense counsel. When the defense discovered the duplicates, a motion to
11 seal was immediately filed with the court. While the motion was pending, the prosecutor
12 reviewed and discussed the documents, and used them to prepare a trial witness. After the
13 court granted the motion to seal, in direct defiance of the court’s order, the prosecutor
14 made a second set of the documents for her own use, signed an affidavit “of questionable
15 veracity,” and made statements that the court deemed to “lack candor.” No such improper
16 conduct has occurred in this case. Instead, after seeking advice from the court, a filter
17 team, and an ethics advisor, no problems were identified with the conduct of the
18 prosecution team. Thus, none of the other remedies suggested by the defense are
19 appropriate.
20     H. No Evidentiary Hearing is Required.
21        There is no dispute of facts this court must resolve to decide this motion. The
22 defense concedes, as it must, that the privilege holder for any attorney-client
23 communications involving attorney LG are Companies A and B, not the defendants. [ECF
24 No. 329-1, p. 9, fn. 7]. Because the defendants have no personal attorney-client
25 relationship with LG, there can be no violation of their Sixth Amendment right to counsel
26 involving disclosure of emails with LG. Moreover, there is also no dispute that AB and
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 1 two of the defense firms in this case chose to provide their search terms to Spamhaus, an
 2 adverse party, who provided them to the United States. Any potential work product
 3 privilege that might exist with respect to the disclosure of the search terms was thereby
 4 waived or invaded by a third party. The defense has the burden of proof of establishing all
 5 the elements of the privilege, including the absence of waiver, so the hearing requested by
 6 the defense to “put the government to its burden of proof” is unnecessary. Because this
 7 court can resolve these motions based on the undisputed facts, no evidentiary hearing is
 8 required.
 9                                             IV.
10                                         Conclusion
11 Based on the foregoing, the government requests that the court deny the defendant’s
12 motion to dismiss the indictment for outrageous government conduct without requiring an
13 evidentiary hearing.
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